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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO. 13-125

CATHY ROSS VINNETT ET AL.                          SECTION “B”(4)
                                  ORDER
     Considering Lashanda Vinnett's ("Movant") Motion to Expedite,

Movant's Motion to Dismiss the Indictment, and the Government's

brief in opposition (Rec. Docs. 58, 62 & 66),

     IT IS ORDERED that the Motion to Expedite is GRANTED and the

Motion   to    Dismiss   is   DENIED.   Movant's    contention     that   the

Government did not reserve the right to bring this suit is contrary

to the plain language of the consent order, which states that "the

parties agree that entry of this permanent injunction neither

precludes the [I.R.S] from assessing penalties against [the Movant

and co-defendant here] for asserted violations nor precludes the

Defendants from contesting any such penalties." (Civ. A. 11-1547,

Rec. Doc. 32). Further, movant fails to provide any authority for

the proposition that the Government must "reserve the right" to

bring criminal actions when it gains injunctive relief in previous

civil suits.

     New Orleans, Louisiana, this 12th day of June, 2014.




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                                          UNITED STATES DISTRICT JUDGE
